983 F.2d 1088
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Frank D. KANDL, Claimant-Appellant,v.Edward J. DERWINSKI, Secretary of Veterans Affairs,Respondent-Appellee.
    No. 92-7071.
    United States Court of Appeals, Federal Circuit.
    Nov. 20, 1992.
    
      Before MAYER, MICHEL and PLAGER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant seeks review of the judgment of the United States Court of Veterans Appeals affirming the denial of a reopened claim for service-connected disability compensation.   Appellant challenges only factual determinations or the application of a law or regulation to his claim, or raises a legal question that does not contest the validity of a statute or a regulation, or the interpretation of a constitutional or statutory provision or a regulation.   In particular, appellant argues that the evidence he submitted was new and material, which is an issue of law application.   No issue is raised which falls within the jurisdiction of this court under 38 U.S.C. §§ 7292(c), (d)(1)-(2).   Accordingly, the appeal is  dismissed.   See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    